Case 3:18-cv-13391-RHC-EAS ECF No. 29, PageID.344 Filed 08/30/19 Page 1 of 11




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

EFFYIS, INC., a Michigan corporation,   Case No. 18-CV-13391
and HOTTOLINK, INC., a Japanese
corporation,                            Hon. Robert H. Cleland

      Plaintiffs/Counter-Defendants,
                                           PLAINTIFFS/COUNTER-
      v.                                 DEFENDANTS’ MOTION FOR
                                         LEAVE TO AMEND DEFENSES
DARREN KELLY, an individual,

      Defendant/Counter-Plaintiff.


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Case 3:18-cv-13391-RHC-EAS ECF No. 29, PageID.345 Filed 08/30/19 Page 2 of 11




              PLAINTIFFS/COUNTER-DEFENDANTS’ MOTION
                   FOR LEAVE TO AMEND DEFENSES


       NOW          COME   Plaintiffs/Counter-Defendants,   EFFYIS,   INC.    and

HOTTOLINK, INC. (collectively “Plaintiffs”), by and through their counsel, and

hereby request leave to amend defenses filed to Defendant/Counter-Plaintiff’s

Counterclaim.

       In support of its Motion, Plaintiffs rely upon the Brief in Support filed

contemporaneously herewith and all exhibits attached thereto.

     COMPLIANCE WITH LOCAL RULE 7.1—MOTION PRACTICE

       On August 25, 2019, Louis Licata emailed Mr. Kelly’s counsel of record,

Daniel Villaire, Esq., to ascertain whether the request for leave to file amended

answer to counter claim to add two affirmative defenses would be opposed and

inviting a conversation regarding the request. As of August 30, 2019, Mr. Villaire

had not provided his concurrence. Despite Movants reasonable efforts to obtain

concurrence, the movant was unable to conduct a conference, so movant has been

unable to obtain concurrence in the relief requested. This Motion and Brief were

thereafter filed.
Case 3:18-cv-13391-RHC-EAS ECF No. 29, PageID.346 Filed 08/30/19 Page 3 of 11




         WHEREFORE, Plaintiffs respectfully request this Honorable Court grant

EFFYIS, INC. and HOTTOLINK, INC. leave to file the answer attached hereto as

Exhibit 2.

Dated: August 30, 2019            Respectfully submitted,

                                  ABBOTT NICHOLSON, P.C.

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4833-6191-3506, v. 1




                                        3
Case 3:18-cv-13391-RHC-EAS ECF No. 29, PageID.347 Filed 08/30/19 Page 4 of 11




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

EFFYIS, INC., a Michigan corporation,   Case No. 18-CV-13391
and HOTTOLINK, INC., a Japanese
corporation,                            Hon. Robert H. Cleland

      Plaintiffs/Counter-Defendants,
                                           PLAINTIFFS/COUNTER-
      v.                                   DEFENDANTS’ BRIEF IN
                                          SUPPORT OF MOTION FOR
DARREN KELLY, an individual,             LEAVE TO AMEND DEFENSES

      Defendant/Counter-Plaintiff.


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Case 3:18-cv-13391-RHC-EAS ECF No. 29, PageID.348 Filed 08/30/19 Page 5 of 11




                   CONCISE STATEMENT OF THE ISSUE

      Should the Court grant leave to Plaintiffs/Counter-Defendants to file an

amended answer and affirmative defenses to add defenses learned of through the

course of discovery in this case?

      Plaintiffs/Counter-Defendants say:       “Yes.”

      Defendant/Counter-Plaintiff says:        “No.”




                                           i
Case 3:18-cv-13391-RHC-EAS ECF No. 29, PageID.349 Filed 08/30/19 Page 6 of 11




                       CONTROLLING AUTHORITIES

Foman v. Davis, 371 U.S. 178, 182 (1962)

Tefft v. Seward, 689 F.2d 637, 639 (6th Cir. 1982)

Fed. R. Civ. P. 15




                                        ii
Case 3:18-cv-13391-RHC-EAS ECF No. 29, PageID.350 Filed 08/30/19 Page 7 of 11




      PLAINTIFFS/COUNTER-DEFENDANTS’ BRIEF IN SUPPORT
          OF MOTION FOR LEAVE TO AMEND DEFENSES

      Pursuant to Rule 15 of the Federal Rules of Civil Procedure, and this Court’s

February 13, 2019 Scheduling Order, Plaintiffs/Counter-Defendants, Effyis, Inc. and

Hottolink, Inc. (collectively, “Plaintiffs”), respectfully move this Court for leave to

amend their Answer to the Counterclaim to assert additional affirmative defenses

based on the defendant’s failure to mitigate damages and the after-acquired

evidence doctrine.

      Leave to amend an answer shall be freely given when justice so requires.

Fed. R. Civ. P. 15(a). The Supreme Court of the United States has further stated

that “this mandate is to be heeded.” Foman v. Davis, 371 U.S. 178, 182 (1962).

Accord: Tefft v. Seward, 689 F.2d 637, 639 (6th Cir. 1982) (“cases should be tried

on their merits rather than the technicalities of pleadings”); Washburn v. American

Home Mortg. Servicing, Inc., Case No. 11-12890, at *2 (E.D. Mich. Dec. 22, 2011)

(“This Rule is to be construed liberally… The underlying purpose of allowing

parties to amend their pleadings is to permit the issues to be tried on the merits”).

      Also, the Court’s Scheduling Order of February 13, 2019, provides a motion

to amend is appropriate if “based on reasonable cause,” as in the case of “newly

discovered information.” This motion is based upon reasonable cause and newly

discovered information. Discovery was just completed on July 31, 2019, with the


                                           1
Case 3:18-cv-13391-RHC-EAS ECF No. 29, PageID.351 Filed 08/30/19 Page 8 of 11




exception of the deposition of Defendant Mr. Kelly, which proceeded by

agreement on August 1, 2019. As a result of the documents retrieved, reviewed

and produced in discovery, and as a result of the deposition testimony of Mr.

Kelly, Plaintiffs now have “newly discovered information” that gives them

“reasonable cause” to assert additional defenses to the Counterclaim.

      With respect to mitigation of damages, Mr. Kelly refused to respond to

inquires directed to this issue during written discovery. See Responses to Plaintiffs’

Second Set of Interrogatories, #3:

             Did you apply for any positions of employment during
             the period January 1, 2015 through December 18, 2019?
             If your answer is “yes,” then please identify the
             following:
             a. The name and address of the prospective employer;
             b. The position for which you applied; and
             c. The date you applied for the position.

             ANSWER:
                   Defendant objects to this request since it is not
             relevant to the claim or defense of any party and the
             proportional needs of the case.

Id. (attached as Exhibit 1).

      It was only during Mr. Kelly’s deposition on August 1, 2019 that Kelly

answered questions about his attempts to find employment after his termination

from Plaintiff/Counter-Defendant Effyis, Inc. Mr. Kelly’s deposition testimony

taken on August 1, 2019 responses are “newly discovered information”/evidence


                                          2
Case 3:18-cv-13391-RHC-EAS ECF No. 29, PageID.352 Filed 08/30/19 Page 9 of 11




which support an affirmative defense for failure to mitigate damages with respect

to the Counterclaim.

      In addition, documents which came to light during the parties’ extensive

discovery process revealed that Mr. Kelly committed serious violations of Effyis’

employee policies. If Plaintiffs had known of these violations during his employment,

Mr. Kelly would have been terminated on the grounds of these violations. Had

Plaintiffs known of this information at the time suit was initially filed, Plaintiffs

would have pled these facts as another basis to terminate Mr. Kelly’s employment.

Thus, Plaintiffs have “newly discovered information” of a strong factual basis to

assert of the affirmative defense of the after-acquired evidence doctrine and

“reasonable cause” to amend their pleadings to accordingly.

      Good cause exists to allow Plaintiffs to amend their Answer to the

Counterclaim to include these two defenses at this time. Plaintiffs have exercised

due diligence during the discovery process and have recently uncovered

information unknown to them when the pleadings were first filed which requires

the assertion of these additional defenses. As set forth above, it is in the interests

of justice that this case be decided on the merits rather than on a technicality.

      For the foregoing reasons, Plaintiffs respectfully request leave to amend

their Answer to the Counterclaim to include the affirmative defenses set forth




                                           3
Case 3:18-cv-13391-RHC-EAS ECF No. 29, PageID.353 Filed 08/30/19 Page 10 of 11




above. A copy of the proposed First Amended Answer to Counterclaim is being

filed contemporaneously herewith (Exhibit 2).

Dated: August 30, 2019            Respectfully submitted,

                                  ABBOTT NICHOLSON, P.C.

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                                       4
Case 3:18-cv-13391-RHC-EAS ECF No. 29, PageID.354 Filed 08/30/19 Page 11 of 11




                           CERTIFICATE OF SERVICE

         I hereby certify that on August 30, 2019, a copy of the foregoing Motion for

Leave to Amend Defenses was filed electronically. Notice of this filing will be sent

by operation of the Court’s electronic filing system to counsel of record for all

parties indicated on the electronic filing receipt. Parties and their counsel may

access this filing through the Court’s system.


Dated: August 30, 2019               ABBOTT NICHOLSON, P.C.

                                     By: /s/ William D. Gilbride, Jr.
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4833-6191-3506, v. 1
